                       Case 2:16-cv-02105-JAR
                         TRANSCRIPT           Document
                                      ORDER FORM       562 Filed
                                                 - DIRECTIONS ON 09/19/18 PageSIDE
                                                                 THE REVERSE    1 of 2

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PART I - To be completed by appellant within fourteen days of filing the notice of appeal.

Short Title: Fish, et al v Kobach                       District Court Number: 16-CV-02105
District: Kansas                                       Circuit Court Number: 18-3186
Name of Attorney/Pro Se Party: Stanley R. Parker        Email Address: stanley.parker@ag.ks.gov
Name of Law Firm/Office: Office of Kansas Attorney General Derek Schmidt          Telephone: 785-368-8423
    Address: 120 SW 10th Avenue, Topeka, Kansas 66612-1597
    Attorney for: Defendant-Appellant
Name of Court Reporter: Kim Greiner
Name of Court Reporter (if ordering from more than one):___________________________________
PART II- Complete SECTION A (if not ordering a transcript) or SECTION B (if ordering transcript(s)).

SECTION A -     I HAVE NOT ORDERED A TRANSCRIPT BECAUSE
                [] A transcript is not necessary for this appeal;
                X The necessary transcript is already on file in District Court; or
                [] The necessary transcript was ordered previously in appeal
                     number _____________________________________________

SECTION B -     I HEREBY ORDER THE FOLLOWING TRANSCRIPT(S):
                 (Specify the date and proceeding in the space below)

Voir dire:_____________________________________        Opening Statements:_______________________________
Trial proceedings: ___________________________         Closing Arguments:________________________________
Jury Instructions: ____________________________        Other Proceedings: _______________________________
Post-Trial Hearings: __________________________        Other Proceedings: ________________________________
                        (Attach additional pages if necessary)

          [] I will pay the cost of the transcript. My signature on this form is my agreement to pay for
              the transcript ordered on this form.

          [] This case is proceeding under the Criminal Justice Act.

             IF THIS APPEAL IS PROCEEDING UNDER THE CJA PLEASE NOTE YOU MUST ALSO TAKE ALL
             STEPS REQUIRED IN EVOUCHER IN ORDER TO COMPLETE PAYMENT ARRANGEMENTS.

NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court
allowing payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).
                                               CERTIFICATE OF COMPLIANCE
I certify that I have read the instructions on the reverse of this form and that copies of this transcript order form have
been served on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all counsel of record or
pro se parties, and the Clerk of the U.S. Court of Appeals for the Tenth Circuit. I further certify that satisfactory
arrangements for payment for any transcript ordered have been made with the court reporter(s).

Signature of Attorney/Ordering Party: /s/Stanley R. Parker                Date: September 18, 2018

PART III -    To be completed by the court reporter after satisfactory financial arrangements have been made.

Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy with the Clerk of the U.S.
District Court.

Date arrangements for payment completed: ________________________
Estimated completion date: ___________________________________________
Estimated number of pages: ___________________________________________
I certify that I have read the instructions on the reverse side and that adequate arrangements for payment have been
made.

Signature of Court Reporter: _________________________________________                  Date:_________________________
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Appellate Case: 18-3186         DIRECTIONS
                               Document:   FOR USING THIS
                                         010110055331     FORM
                                                        Date Filed: 09/18/2018             Page: 2
This form requires multiple distribution, service and filing. The responsibilities of each party
and the court reporter are described below.

1. APPELLANT
Whether or not a transcript is ordered, appellant or his counsel must complete Part I and
Part II of this form. Upon completion, appellant must serve a copy on:
          a. the Court Reporter (if a transcript is ordered),
          b. all parties,
          c. the Clerk of the U.S. District Court, and
          d. the Clerk of the U.S. court of Appeals.

If a transcript is ordered, the appellant must obtain execution of this form by the court
reporter(s) who recorded the proceedings. Within the 14-day period allowed for ordering the
transcript under Fed. R. App. P. 10(b)(1), appellant must make adequate arrangements for
payment for the transcript. The Court Reporter may require a deposit equal to the full
estimated cost of the transcript. See 28 U.S.C. §753(f).

Unless the entire transcript is ordered, appellant shall serve on appellee(s) a statement of the
issues he intends to present on appeal. See Fed. R. App. P. 10(b)(3). The Docketing Statement
required by 10th Cir. R. 3.4 fulfills this requirement.

Those portions of the transcripts that are filed that are pertinent to the appeal must be included
in appellant's appendix or, in cases where counsel is appointed, designated for inclusion in the
record on appeal. See 10th Cir. R. 10.2.2, 10.3.2(d) and 30.1.1.

2. APPELLEE
Unless the entire transcript is ordered, appellee may, within 28 days of filing of the notice of
appeal, file and serve on appellant a designation of additional transcript to be included. If,
within 14 days, appellant does not order and pay for the transcript so designated, appellee may,
within a further 14 days, order and pay for the transcript or move in the district court for an
order compelling appellant to do so. See Fed. R. App. P. 10(b)(3).

3. COURT REPORTER
After receipt of this form and after satisfactory financial arrangements have been made,
the court reporter shall complete Part III of this form and certify the date the transcript was
ordered and estimate the date it will be completed. The estimated completion date must
comply with the Tenth Circuit Judicial Council's mandated district court Court Reporter
Management Plans. Transcripts in a criminal case (includes 28 U.S.C. §§2241, 2254, 2255) shall
be filed within 30 days of the date arrangements for payment are made. Transcripts in a civil
case shall be filed within 60 days of the date arrangements for payment are made. Court
Reporters are subject to a mandatory fee reduction if transcripts are not timely filed. See
Appellate Transcript Management Plan for the Tenth Circuit, 10th Cir. R., App. B.

The completed form must be served on:
       a. the Clerk of the District Court and
       b. the Clerk of the Court of Appeals.
